             Case 23-793, Document 199, 06/13/2025, 3644735, Page1 of 2




23-793
Carroll v. Trump


                      UNITED STATES COURT OF APPEALS
                          FOR THE SECOND CIRCUIT

      At a stated term of the United States Court of Appeals for the Second Circuit,
held at the Thurgood Marshall United States Courthouse, 40 Foley Square, in the
City of New York, on the 13th day of June, two thousand twenty-five.

Present:
           DEBRA ANN LIVINGSTON,
                 Chief Judge,
           RAYMOND J. LOHIER, JR.,
           MICHAEL H. PARK,
           WILLIAM J. NARDINI,
           STEVEN J. MENASHI,
           EUNICE C. LEE,
           BETH ROBINSON,
           MYRNA PÉREZ,
           SARAH A. L. MERRIAM,
           MARIA A. KAHN,
                 Circuit Judges.
_____________________________________

E. JEAN CARROLL,

               Plaintiff-Appellee,

               v.                                         23-793



DONALD J. TRUMP,

               Defendant-Appellant.

_____________________________________


                                         1
           Case 23-793, Document 199, 06/13/2025, 3644735, Page2 of 2




For Defendant-Appellant:             D. John Sauer, James Otis Law Group, LLC,
                                     St. Louis, MO.

                                     Todd Blanche & Emile Bove, Blanche Law,
                                     New York, NY.

For Plaintiff-Appellee:              Roberta A. Kaplan (Matthew J. Craig, on the
                                     brief), Kaplan Martin, LLP, New York, NY.

                                     Joshua Matz & Kate Harris, on the brief,
                                     Hecker Fink LLP, Washington, DC.



       Following disposition of this appeal on December 30, 2024, an active judge
of the Court requested a poll on whether to rehear the case en banc. A poll having
been conducted and there being no majority favoring en banc review, the petition
for rehearing en banc is hereby DENIED.

      Myrna Pérez, Circuit Judge, joined by Eunice C. Lee, Beth Robinson, and
Sarah A. L. Merriam, Circuit Judges, concurs by opinion in the denial of rehearing
en banc.

      Steven J. Menashi, Circuit Judge, joined by Michael H. Park, Circuit Judge,
dissents by opinion from the denial of rehearing en banc.

      Denny Chin and Susan L. Carney, Circuit Judges, filed a statement with
respect to the denial of rehearing en banc.

      Richard J. Sullivan, Joseph F. Bianco, and Alison J. Nathan, Circuit Judges,
took no part in the consideration or decision of the petition.

                                            FOR THE COURT:
                                            Catherine O’Hagan Wolfe, Clerk




                                        2
